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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MARC A. MANZO,                                        )
                                                      )
                Plaintiff,                            )
                                                      )            No. 4:20-cv-01527-JSD
        v.                                            )
                                                      )
ST. CHARLES COUNTY, et al.,                           )
                                                      )
                Defendant.                            )

                                  MEMORANDUM AND ORDER

        Before the Court is Plaintiff Marc A. Manzo’s (“Manzo”) Second Motion for Leave to

Amend Complaint to Join Additional Parties and Memorandum in Support (“Motion”) [ECF Nos.

113, 114]. Defendant St. Charles County (“SCC”) filed a response in opposition to Manzo’s

Motion on October 28, 2024 [ECF No. 117]. The Motion is fully briefed and ready for disposition.

For the following reasons, Manzo’s Motion is denied.

                                            BACKGROUND

        For his claims, Manzo essentially alleges that, on or about May 22, 2017, 1 while he was

an inmate at the SCC Jail, officers at that institution violated his constitutional rights when they

negligently and/or intentionally locked him in a jail cell with a known violent inmate, who beat

him and caused severe injury to his eye. [ECF No. 1, 9] Manzo also maintains that the officers

subsequently denied him medical care. Id. He filed his initial pro se “Civil Complaint” in this

action on October 23, 2020. [ECF No. 1] He then filed a pro se “Prisoner Civil Rights Complaint

Under 42 U.S.C. § 1983,” or amended complaint, on March 15, 2021, naming SCC, an unknown

“Duty Officer,” an unknown “Control Room Officer,” and an unknown “Wellness Check Officer”



1 In his proposed Second Amended Complaint, Manzo alleges that the assault occurred on May 21, 2017.
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as Defendants. [ECF No. 9] The Court appointed counsel to represent Manzo on April 7, 2022.

[ECF No. 33] Thereafter, on October 19, 2022, Manzo, through counsel, filed a pleading entitled,

“First Amended Complaint” against the same unknown Defendants. [ECF No. 43] His claims for

deliberate indifference in Counts I, II, and III were made under § 1983 and the Eighth and

Fourteenth Amendments of the United States Constitution. Id.

       On February 26, 2024, this Court amended the Case Management Order to allow for

amendments and the joinder of parties by May 15, 2024. [ECF No. 86] This Court also set the

discovery deadline of July 1, 2024, and ordered that SCC provide Manzo with: “a list of names

of the control room officers working the overnight shifts from May 20, 2017 through May 23,

2017; the officers working the overnight shifts between May 20, 2017 through May 23, 2017; and

the officers working from May 20, 2017 through May 23, 2017 with authority to make inmate cell

changes” by March 14, 2024. Id.

       On May 15, 2024, Manzo filed a Motion for Leave to File an Amended Complaint to Join

Additional Parties (“Motion for Leave”), with accompanying Memorandum in Support, wherein

he sought to add forty-one identified additional defendants on the grounds that SCC had only

recently provided the names of the officers working on the day in question. [ECF Nos. 92, 93]

On May 29, 2024, SCC filed their Memorandum in Opposition, arguing that (1) allowing Manzo

to file the proposed Amended Complaint would be futile because it would not withstand a motion

to dismiss by the new proposed defendants under Rule 12(b)(6); the timing of Manzo’s addition

of forty-one additional defendants would cause undue delay to the case and undue prejudice to

SCC; and (3) Manzo failed to comply with E.D. Mo. L.R. 4.07 Motion for Leave to Amend. [ECF

No. 94]

       On June 17, 2024, this Court denied Manzo’s Motion for Leave because amending the

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Complaint would be futile as it would not survive a motion to dismiss. [ECF No. 98] More

specifically, the Court concluded that Manzo’s proposed Amended Complaint failed to “provide a

sufficient factual basis to indicate that any of the forty-one additional defendants were personally

involved in the alleged constitutional violations, only that they were working at the time the

occurred.” Id. at 4. The Court found that “Manzo’s allegation that all forty-one defendants were

involved ‘individually and collectively’ in violating Manzo’s constitutional rights [was] a mere

legal conclusion – not a sufficient factual allegation to survive a motion to dismiss.” Id.

         Notably, the deadline to join additional parties passed on May 15, 2024. [ECF No. 86] The

discovery deadline in this matter also passed on August 15, 2024. [ECF No. 100]. On September

18, 2024, SCC filed a Motion for Summary Judgment [ECF No. 103] and a Motion to Dismiss

Unknown Duty Officer (Count I), Unknown Control Room Officer (Count II), and Unknown

Wellness Check Officers (Count III). [ECF No. 106] On October 18, 2024, Manzo filed the instant

Motion, seeking to “Name the [SCC Department of Corrections] officials responsible for assigning

Manzo to shared cells with other inmates and for ignoring and/or denying Manzo’s repeated

requests to be segregated from the generation population in violation of Defendant [SCC]’s own

Policy No. 902.” [ECF No. 114] He argues that this Court should grant his Motion because only

recently, through the discovery process, he has been able to identify those responsible for his

claims. [ECF Nos. 93, 114] Remarkably, at the time that the instant Motion was filed, the matter

was set for trial on December 2, 2024. 2 [ECF No. 100]




2 In anticipation of orders related to dispositive motions, this Court has vacated the December 2, 2024, trial setting.
[ECF No. 121].
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                                      LEGAL STANDARD

       A motion for leave to amend a pleading involves standards under both Rule 15(a) and Rule

16(b) of the Federal Rules of Civil Procedure. See Lexington Ins. Co. v. S & N Display Fireworks,

Inc., No. 1:11-CV-40 CEJ, 2011 WL 5330744, at *2 (E.D. Mo. Nov. 7, 2011). Under Rule

15(a)(2), “a party may amend its pleading only with the opposing party's written consent or the

court's leave. The court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).

Although this is a liberal standard, a court can still deny a motion for leave when “there are

compelling reasons such as undue delay, bad faith, or dilatory motive, repeated failure to cure

deficiencies by amendments previously allowed undue prejudice to the non-moving party, or

futility of the amendment.” Id. However, when the deadline to amend pleadings has passed under

the court’s scheduling order, a party must demonstrate “good cause,” as required by Rule 16, in

order to be granted leave to amend. Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only

for good cause and with the judge’s consent.”); see also Nwinee v. St. Louis Developmental

Disabilities Treatment Centers, No. 4:18 CV 1460 (JMB), 2020 WL 1065649, at *2 (E.D. Mo.

Mar. 5, 2020).

                                            DISCUSSION

       I.        Futility under Rule 15

       Under the Rule 15 standard, as stated above, denial of a motion for leave to amend may be

proper if filing the amendment would be futile in the face of a motion to dismiss. Popoalii v.

Corr. Med. Servs., 512 F.3d 488, 497 (8th Cir. 2008). An amendment is considered “futile” when

the proposed amended complaint could not survive a motion to dismiss under Rule 12(b)(6). See

Cornelia I. Crowell GST Tr. v. Possis Med., Inc., 519 F.3d 778, 782 (8th Cir. 2008). “In turn, a

motion to dismiss may only be granted if, taking all facts alleged in the complaint as true, and

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construing the complaint liberally in the light most favorable to the plaintiff, it appears beyond a

doubt that the plaintiff can prove no set of facts which would entitle the plaintiff to relief.”

Trademark Medical, LLC v. Birchwood Labs., Inc., 22 F. Supp.3d 998, 1002 (E.D. Mo. 2014)

(citing Carpenter Outdoor Adver. Co. v. City of Fenton, 251 F.3d 686, 688 (8th Cir. 2001)).

        Here, Manzo’s proposed amendment would not survive a motion to dismiss. To be sure,

the amended claims do not relate back to his original complaint and, therefore, violate the statute

of limitations. Also, the proposed amendment fails to allege plausible facts necessary to survive a

Rule 12(b)(6) motion. As such, filing the amended complaint would be futile, and denial of the

motion for leave to amend is proper.

            A. Relation Back

        Defendants argue, among other things, 3 that Manzo’s proposed amendment would not

survive a motion to dismiss because the amended claims do not relate back to his original

complaint and, therefore, would violate the statute of limitations. This Court agrees. For § 1983

claims arising in Missouri, the statute of limitations is five years. See Sulik v. Taney Cnty., Mo.,

393 F.3d 765, 767 (8th Cir. 2005); see also 42 U.S.C. §1983; MO. REV. STAT. §516.120(4).

Manzo’s claims arise from events occurring in May of 2017. His alleged injuries manifested

around November or December of 2017, after he was transferred to another facility. He was

diagnosed in December of 2017. See MO. REV. Stat. §516.100 (action must commence within

prescribed period after damage is capable of ascertainment). Thus, the latest the five-year statute

of limitations would have run was December of 2022.

        Under Rule 15(c)(1)(C), an amended complaint with newly identified defendants would

not relate back to the date of the original filing and would be barred by the statute of limitations.


3 The Court addresses only those arguments supporting this order denying Manzo’s Motion.
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In relevant part, Rule 15(c)(1)(C) states as follows:

       An amendment to a pleading relates back to the date of the original pleading when:

       […](C) the amendment changes the party or the naming of the party against whom
       a claim is asserted, if Rule 15(c)(1)(B) is satisfied and if, within the period provided
       by Rule 4(m) for serving the summons and complaint, the party to be brought in by
       amendment: (i) received such notice of the action that it will not be prejudiced in
       defending on the merits; and (ii) knew or should have known that the action would
       have been brought against it, but for a mistake concerning the proper party’s
       identity.

Pointedly, the Eighth Circuit has held that a plaintiff’s lack of knowledge of a defendant’s identity

does not qualify as a “mistake” under this rule. See Heglund v. Aitkin Cnty, 871 F.3d 572, 579-580

(8th Cir. 2017). As such, a plaintiff’s amendment naming a defendant in place of a previously pled

“unknown defendant” does not relate back to the date of the original filing. Id.

       Here, Manzo amended his complaint on March 15, 2021. He amended his complaint again

on October 19, 2022. Both pleadings named individual Defendants as “Unknown.” [ECF Nos. 9,

43] Manzo’s recent attempts in May and September of 2024 to amend his complaint and

specifically name defendants were due to inadequate knowledge and not mistake. [ECF No. 114]

Therefore, under the plain language of Rule 15(c)(1)(C), any amended complaint with newly

identified defendants would not relate back to the date of the original filing, would be barred by

the statute of limitations, and, therefore, would not withstand a motion to dismiss.

           B. Sufficiency of Allegations

       Defendants also allege that Manzo’s proposed amendments could not survive a motion to

dismiss and are futile because the amended claims are not sufficiently specific to establish liability

and are defeated by qualified immunity. More to it, SCC argues that Manzo’s claims of

constitutional violations fail because “[s]imply alleging that the employees were working on a

particular date and providing generalized allegations to the proposed defendants and their alleged

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‘collective unconstitutional conduct’ without specificity to each defendant is insufficient to

establish liability in a Section 1983 claim[.]” [ECF No. 117, at 9] This Court agrees.

        A prison official “violates the Eighth Amendment if he is deliberately indifferent to the

need to protect an inmate from a substantial risk of serious harm from other inmates.” Jackson v.

Everett, 140 F.3d 1149, 1151 (8th Cir. 1998) (quotation omitted). This claim has an objective

component, whether there was a substantial risk of serious harm to the inmate, and a subjective

component, whether the prison official was deliberately indifferent to that risk. Curry v. Crist, 226

F.3d 974, 977 (8th Cir. 2000); see also Vandevender v. Sass, 970 F.3d 972, 975 (8th Cir. 2020).

To be liable, “the official must both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.” Farmer v.

Brennan, 511 U.S. 825, 837 (1994). As prisons are inherently dangerous environments, “[i]t is not

... every injury suffered by one prisoner at the hands of another that translates into constitutional

liability for prison officials responsible for the victim's safety.” Id. at 834.

        Nevertheless, the “Eighth Amendment's prohibition on cruel and unusual punishment . . .

protects prisoners from deliberate indifference to serious medical needs.” Anderson v. E.

Diagnostic & Reception Corr. Ctr., No. 4:23-CV-00454-SEP, 2024 WL 324073, at *3 (E.D. Mo.

Jan. 29, 2024) (citing Luckert v. Dodge Cnty., 684 F.3d 808, 817 (8th Cir. 2012). “To prevail on

an Eighth Amendment claim of deliberate indifference to serious medical needs, an inmate must

prove that he suffered from one or more objectively serious medical needs, and that prison officials

actually knew of but deliberately disregarded those needs.” Roberson v. Bradshaw, 198 F.3d 645,

647 (8th Cir. 1999). “A medical need is serious if it is ‘obvious to the layperson or supported by

medical evidence, like a physician's diagnosis.’” Moore v. Jackson, 123 F.3d 1082, 1086 (8th Cir.

1997) (quoting Aswegan v. Henry, 49 F.3d 461, 464 (8th Cir. 1995)).

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       Additionally, in a § 1983 inquiry, “a plaintiff must plead that each Government-official

defendant, through the official's own individual actions, has violated the Constitution.” Ashcroft

v. Iqbal, 556 U.S. 662, 677 (2009). Thus, “each Government official, his or her title

notwithstanding, is only liable for his or her own misconduct.” Id. Recently, in Faulk v. City of

St. Louis, Missouri, the Eighth Circuit upheld a trial court’s dismissal of plaintiff’s § 1983 action

against a police officer when the trial court concluded that plaintiff was not entitled to conduct

additional discovery prior to that dismissal because, while plaintiff had conducted extensive

discovery to determine the identity of unnamed defendants and their specific roles in the alleged

violations, the plaintiff’s amended complaint still did not allege facts that would allow the court to

infer that the officer was personally involved in the alleged violations of plaintiff’s constitutional

rights. 30 F.4th 739, 746 (8th Cir. 2022) (“[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged -- but it has not

shown -- that the pleader is entitled to relief.”) (citing Iqbal, 556 U.S. at 679) (cleaned up).

       Here, in his proposed amended complaint, Manzo alleges two claims of deliberate

indifference to a substantial risk of serious harm under the Fourteenth Amendment and one claim

of deprivation of medical care amounting to cruel and unusual punishment under the Eighth

Amendment. [See ECF No. 114-1]. As in Faulk, the allegations contained in Manzo’s Proposed

Amended Complaint fail to provide a sufficient factual basis to indicate that any of the additional

defendants were personally involved in the alleged constitutional violations, only that they were

working in certain roles at the time they occurred. The addition of the names of those on duty and

the existence of Policy No. 902 does not change this analysis. While Manzo argues that Policy No.

902 required Manzo to be segregated from other inmates [see ECF No. 114, at 4-5], the policy

does not mandate such a requirement [ECF No. 114-2]. More to it, even if Manzo demonstrated a

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policy violation, that alone fails to rise to the level of a constitutional violation. See Vandevender

v. Sass, 970 F.3d 972, 978 (8th Cir. 2020) (“We have repeatedly held that violations of prison

policy or regulations alone are not enough to establish deliberate indifference under the Eighth

Amendment.”); Jackson v. Gutzmer, 866 F.3d 969, 977 (8th Cir. 2017); Falls, 966 F.2d at 380; cf.

Kulkay, 847 F.3d at 645 (“[S]afety regulations do not establish a standard for Eighth Amendment

violations.”).

        To be sure, Manzo has failed to allege facts demonstrating that each named defendant had

a subjective awareness of a risk of harm and subjectively drew the inference from that awareness,

or that each named defendant had actual knowledge of his medical need and deliberately

disregarded it. See Rich v. Bruce, 129 F.3d 336, 339 (4th Cir. 1997); Tucker v. Evans, 276 F.3d

999, 1002 (8th Cir. 2002); Anderson, 2024 WL 324073, at *3. As such, without these essential

facts, Manzo’s allegations that SCCDOC officials collectively failed to segregate Manzo and

deliberately disregarded his injuries do not constitute sufficient factual allegations to survive a

motion to dismiss under Iqbal. See Faulk, 30 F.4th at 745-746 (“[W]ithout the factual

enhancement, the naked allegations…are merely legal conclusions.”). Also, like Faulk, Manzo has

had significant time to conduct discovery and develop more specific allegations about which

individual officers were personally involved in the alleged constitutional violations, and the role

they played — but has failed to do so. Because Manzo’s amended complaint as to the additional

proposed defendants fails to meet that standard, his proposed claims would not survive a motion

to dismiss and, therefore, are futile.

        Moreover, the proposed amendments would also be futile because the defendants would

be entitled to qualified immunity under the allegations of the Second Amended Complaint.

Qualified immunity shields government officials performing discretionary functions from civil

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liability “insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818,

(1982). Indeed, qualified immunity protects “all but the plainly incompetent or those who

knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986). In this case, Defendants

are entitled to qualified immunity unless Manzo has plausibly stated both (i) a claim for violation

of his Eighth Amendment right to be free from cruel and unusual punishment, and (ii) that the right

was clearly established at the time of the alleged violation. See Kulkay v. Roy, 847 F.3d 637, 642

(8th Cir. 2017). Because the Court has found that Manzo failed to plausibly allege an Eighth

Amendment violation, the Court need not address the “clearly established” requirement.

Vandevender, 970 F.3d at 975.

       Furthermore, the proposed amended complaint is also defeated by qualified immunity

because the pleading fails to allege that the Defendants violated Manzo’s Eighth Amendment

rights. In numerous cases, the Eighth Circuit has upheld the grant of qualified immunity from §

1983 damage claims to prison officials who allegedly failed to protect an inmate from another

inmate's surprise attack. Id. at 976 (citing Curry, 226 F.3d at 978-79 (collecting cases), and Tucker

v. Evans, 276 F.3d 999 (8th Cir. 2002)). “[B]ecause prisons are dangerous places, housing the most

aggressive among us and placing violent people in close quarters, ... prison officials are entitled to

qualified immunity from claims arising out of a surprise attack by one inmate on another.” Everett,

140 F.3d at 1152 (cleaned up). Manzo’s proposed amended complaint is devoid of any allegation

that would demonstrate a constitutional violation by any specific defendant or that this case was

anything but a surprised attack by a previously nonviolent assailant. See also Vandevender, 970

F.3d at 976 (“The Amended Complaint does not allege (i) that Vandevender had previously been

threatened by Latimer or by any other MCF-Rush City inmate; (ii) that Latimer was known to be

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a violent, volatile inmate; (iii) that Vandevender and Latimer had previously argued or fought,

been cellmates at any time, or even knew each other; or (iv) that either Vandevender or Latimer

had recently been in protective custody or in a restrictive status such as administrative

segregation.”). As a result, the Court holds that the proposed amended complaint would be futile

because the defendants would be entitled to qualified immunity under the facts as alleged.

       II.     Good Cause Under Rule 16

       This Court further finds that Manzo has not demonstrated good cause for failing to comply

with the May 15, 2024, deadline for the filing of motions for amendment to the pleadings as set

forth in this Court’s February 26, 2024, case management order. [ECF No. 86 ¶ 5]. “The primary

measure of good cause is the movant's diligence in attempting to meet the [scheduling] order's

requirements.” Sherman v. Winco Fireworks, Inc., 532 F.3d 709, 716-17 (8th Cir. 2008) (quoting

Rahn v. Hawkins, 464 F.3d 813, 822 (8th Cir. 2006)). “[P]laintiff must show that he acted with

diligence but still could not reasonably have met the deadline for motions to amend pleadings

Nwinee, 2020 WL 1065649, at *2.

       In this case, to explain his failure to timely assert these claims, Manzo cites the existence

of Policy No. 902 “regarding administrative segregation, and the testimony adduced by officers

that a failure to segregate inmates who qualify for segregation amounts to a violation of the policy,

and because the identities of those SCCDOC officials responsible for adherence to the policy was

not known until after the depositions of certain officials on September 12, 2024.” [See ECF No.

114, at 5]. However, it is apparent that this policy information was available to Manzo as early as

June 26, 2023. [ECF Nos. 118-8, at 4; 112-8]. Indeed, Manzo had access to the names of the

proposed named defendants over two years ago, on May 9, 2022 [ECF No. 117-1]. Discovery is

now closed, SCC has filed for summary judgment, and this case is ready for disposition or trial.

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As such, this Court denies Manzo’s Motion to Amend under Rule 16 for failure to show good

cause. See Trademark Med., LLC v. Birchwood Lab'ys, Inc., 22 F. Supp. 3d 998, 1004 (E.D. Mo.

2014).

                                         CONCLUSION

Accordingly,

         IT IS HEREBY ORDERED that Manzo’s Second Motion for Leave to File Amended

Complaint to Join Additional Parties [ECF No. 113] is DENIED.



Dated this 27th day of November, 2024.

                                               JOSEPH S. DUEKER
                                               UNITED STATES MAGISTRATE JUDGE




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